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                 Comparing architectures of mobile applications

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Abstract. This article describes various         disadvantage due to restrictions in their size
advantages and disadvantages of SMS,             and power consumption. These restrictions
WAP, J2ME and Windows CE technologies            are defined by current technology but also
in designing mobile applications. In defining    by shear practicality. Because of their
the architecture of any software application     nature, mobile devices have upper and lower
it is important to get the best trade-off        size limitations. Their usage also has to be
between platform’s possibilities and design      uncomplicated and fast. It is unreasonable
requirements. Achieving optimum software         to assume that people will ever prefer to
design is even more important with mobile        carry around large, heavy or cumbersome
applications where all computer resources        devices compared to small, light and sleek
are limited. Therefore, it is important to       gadgets. Roughly speaking, features of
have a comparative analysis of all relevant      mobile devices can be divided into three
contemporary approaches in designing             categories. First of all, it is unlikely that the
mobile applications. As always, the choice       size of mobile device screens can
between these technologies is determined by      significantly change, at least in the next
application requirements and system              foreseeable period. On the other hand,
capabilities.                                    graphics and sound quality improves
                                                 regularly. For example, it might be expected
Keywords: SMS, MMS, WAP, J2ME,                   that text-to-speech algorithms will be
Pocket PC, Windows CE, mobile devices,           implemented in hardware or software of
PDA,    mobile  architectures, mobile            future mobile phones. Secondly, processor
computing.                                       power, memory storage and battery
                                                 durability are bottlenecks but they improve
1. Introduction                                  with every next generation of mobile
   Although personal computers are               devices. Third feature of mobile devices is
regularly becoming more and more powerful        connectivity. Nowadays GPRS (Class 10)
with greater storage, processing and data        [1] is virtually commonplace as well as
presentation capabilities, the art of            EDGE [2] and 3G/4G mobile phones [3], [4]
meaningful software design hasn’t died-off.      with significantly larger bandwidths. IrDA
Quite the contrary, it is alive and well as      (infrared) [5], [6], [7] interface is a feature
always – especially in the emerging field of     of almost all business-class mobile devices.
mobile applications. Mobile devices, such as     Bluetooth [8], [9] is also becoming more
mobile phones, pocket computers, smart           common. Some “exotic” models of mobile
wrist watches and other similar devices,         devices have FM radio and TV tuners. Wi-Fi
have very limited resources. This is perhaps     (WLAN) [10], [11] is probably the next
most evident when we compare their               connectivity barrier that will be conquered.
capabilities to the capabilities of non-mobile   The conclusion from all of this is that
or “regular” platforms like desktop              today’s mobile devices, mobile phones in
computers. Mobile devices are at a               particular, have enough features that allow


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software developers to create useful              user must find and install the version that
applications for them. Only about a year ago      was developed only for his mobile phone or
J2ME-enabled [16] and Windows CE-                 handheld device. Perhaps the best solution
enabled [18] devices were rare but today          would be to develop one generic less-than-
there are plenty of programmable mobile           optimal application that works on all mobile
devices and therefore plenty of incentive to      devices and a number of optimized
make useful mobile computing solutions.           applications    for    individual   devices.
                                                  However, it is questionable that the generic
2. Classification of mobile architectures         application can have all the features of the
                                                  platform-specific application. In any case,
    Mobile      applications     and      their   there is no single perfect solution for all
architectures can be classified in several        cases and the choice of mobile application
different ways. The most significant              design is an important decision in the
classifications     are     by     application    development process.
applicability, architecture, functionality and
range.                                                                  Generic   Specific
                                                            SMS           ●
3. Applicability
                                                            WAP           ●
Applicability of a mobile application can be               J2ME           ●          ●
platform-specific or platform-generic. In                Windows CE       ●          ●
other words, a mobile application can be
applicable only on a specific mobile device,            Table 1 Applicability constraints
or the application can be independent of the
mobile platform type. Depending on the            As can be seen in Table 1, J2ME and
target user group it is possible to design        Windows CE applications can use generic
applications for a single, specific mobile        functions or, in order to enhance
device or, if the user group is broad and         functionality, they can use specific API
undefined, it is important to make                functions that are specific to certain devices
applications work on a variety of mobile          such as Nokia, Motorola, Siemens, Psion,
devices. If a mobile application is platform-     etc. J2ME classes provided by mobile phone
specific developers can extract maximum           manufactures are called OEM-Extensions.
features from the same volume of code by          These classes extend standard J2ME
directly using the API of the specific device     functions with functionalities to Bluetooth
but the drawback is that all other users who      and IrDA hardware, better rendering of
don’t have the targeted device will not be        graphics and animation, restricted access to
able to run this mobile application. If users,    voice and SMS communications, etc.
for example, will be from one company only
and will have the same mobile phone or            4. Architecture
handheld device this isn’t a big problem, but
it poses a significant drawback if the mobile     The second paradigm for mobile application
application has to be used by the general         classification is architecture. This is
public – the widest possible range of users.      illustrated in Table 2. SMS (and MMS)
In this case it is necessary to make mobile       applications     always     have     complex
applications that will work if not on all than    client/server architecture [12] with several
on all significant mobile platforms. A            layers of business logic on the server. As
second possibility that is especially             shown in
exploited by developers of J2ME games is          Figure 1, these applications require a heavy
to make several versions of the same              multi-layered             telecommunication
application where each version works on           infrastructure and close cooperation between
only one type of mobile device. In this case


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application developer and Telecom. For         server as shown in Figure 2. WAP pages are
example, typical SMS application would use     relatively lightweight and accessible by
several different databases, modules written   (virtually) all mobile phones on the market
in C, C++, Java or .NET that all               today. J2ME and Windows CE compared to
communicate by CORBA, XML/SOAP or              other two types of mobile applications are
just with sockets.                             really “desktop-like”.

                     Client/     Single
                     Server      layer
        SMS            ●
        WAP            ●           ●
       J2ME            ●           ●
     Windows CE        ●           ●

     Table 2 Architecture classification                Figure 2 WAP architecture

SMS and MMS applications cannot be             They are specific, constrained, developed
developed without a contract with a            and run on a mobile device but they are
Telecom and permission to use Telecom’s        essentially identical to applications found on
infrastructure such as IN and SMSC.            desktop computers. The enabling technology
                                               with J2ME and Windows CE is the ability to
                                               wirelessly connect a mobile application to
                                               the Internet and wirelessly send and receive
                                               data. Such mobile application can be a client
                                               in a client/server multi-tier system, or it can
                                               be a standalone application without a
                                               connection to the server. J2ME and
                                               Windows CE provide the best platform for
                                               the implementation of elaborate business
                                               logic on the client, e.g. mobile device.




                                               Figure 3 Architecture of J2ME and Windows
                                                             CE applications

   Figure 1 SMS application architecture       5. Functionality

WAP [13], [14] is a markup language            Functionality is the third paradigm for the
similar to HTML – WAP pages are very           classification of mobile applications and it is
similar to standard Web pages. WAP             closely related to the architecture. As
applications consist of a number of WAP        illustrated in Table 3, mobile application
pages that can exist on any Internet Web       functionality can be divided in three distinct



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categories: “messaging systems”, “Web-
based” and “desktop-like” applications.              Figure 4 The user interface of an SMS
Functionality also implies the ability of                         application
mobile applications to implement a
comprehensive user         interface.  SMS       The possibilities for SMS applications are
applications are in essence a messaging          quite endless. Examples are paying parking
system where user and system exchange            tickets, buying groceries, making cinema
textual information - they support only          reservations, listing ferry schedules, etc.
textual user interfaces. The only difference     WAP can be thought of as a “stripped-down
between SMS and MMS applications, in this        Web”. They have more capable interface
respect, is that MMS applications along with     with text, different fonts, 2-bit colored
textual information can also supply images,      bitmaps, textboxes, option buttons and
animations and sounds.                           hyperlinks. WAP pages can be static or they
                                                 can be a presentation layer of a multi-tier
                 Msg.        Web-      Desktop   system and, therefore, dynamic. Their
                Systems      based      -like    appearance, as shown in Figure 5, is simple
    SMS                                          and rather rudimentary [15].
                   ●
    WAP                          ●
   J2ME                                     ●
 Windows CE                                 ●

     Table 3 Functionality classification

                   Text-
                           Simple Complex
                   only
      SMS           ●                              Figure 5 Appearance of WAP applications
      WAP                    ●
                                                 On the other hand, J2ME and Windows CE
     J2ME                              ●         provide the best user interface that is most
   Windows CE                          ●         similar to desktop systems. Their
                                                 appearance, capabilities and development
      Table 4 User interface capability          methods are virtually identical to non-
                                                 mobile applications. J2ME applications [17]
A server parses text messages (i.e. SMS)         support keyboard events, text boxes and
from the user (Figure 4) and extracts            labels, buttons, radio buttons, lists, date and
valuable information, e.g. vehicle’s license     calendar controls, marquees, progress bars,
plate, streetcar’s route, highway or railway     images and message boxes. All are
route, unique code of TV or theatre show,        optimized for small mobile phone screens.
movie in cinema or some product seen on a        J2ME applications have pretty elaborated
TV marketing show.                               graphics and multi-threading support so they
                                                 are often used for development of mobile
                                                 games, as can be seen in Figure 6.




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                                                  Windows Mobile 2003 has preinstalled
        Figure 6 Typical J2ME game                .NET-based compact framework (“.NET
                                                  CF”). Development for this platform is
Development tools such as Sun’s Forte,            possible in C#.NET and VB.NET languages
Borland’s JBuilder and Eclipse represent          that produce managed code, i.e. code that
powerful environments for the development         runs on a .NET virtual machine. It is
of personal and enterprise J2ME                   important to notice that Windows CE is a
applications. Many development tools also         real-time operating system and has faster
provide their own software emulators of           code execution than J2ME. Also, Windows
J2ME-enabled mobile devices. Companies            CE platform has full multithreading support.
such as Nokia and Siemens allow J2ME              The development tool for Pocket PC
developers free download of their own             devices, e.g. Windows CE operating system,
mobile phones’ emulators. In contrast to          is Microsoft Visual Studio. This is a
J2ME-enabled devices, Windows CE                  versatile and capable development tool with
handheld computers have larger, color             auto-deployment of executable code and its
touch-screens. This enables them to have a        components, remote debugging support,
“desktop-like” user interface [18], [19]. In      series of emulators, etc. In order to make
addition to all J2ME controls Windows CE          multi-tier J2ME and Windows CE
devices support dropdown lists, context           applications possible the mobile device must
menus, tree views, list views, list boxes,        have wireless connection by CDMA,
image lists, data grids, open/save file dialogs   GSM/GRPS/EDGE or WLAN. J2ME and
and several other useful controls. They also      Windows CE have classes and methods that
support handwriting recognition and               support a wide range of communication
portable SQL databases (Microsoft SQL             protocols including TCP/IP, UDP, HTTP
Server CE).                                       and sockets. In case of J2ME careful
                                                  attention must be paid to the version of
                                                  MIDP implementation on the mobile device.
                                                  The safest thing to do is to use only the
                                                  HTTP protocol on default socket 80 since it
                                                  is defined in MIDP 1.0 and, therefore,
                                                  available on all J2ME-capable mobile
                                                  devices. The newest MIDP 2.0 is far more
                                                  powerful and it additionally defines standard
                                                  programming interfaces for voice calls,
                                                  access to address book, inbox, Bluetooth,
                                                  IrDA and many other mobile phone features.

                                                  6. Range

                                                  Table 5 displays range or spread of different
                                                  mobile technologies today.

                                                                     Max     Med.      Min
                                                        SMS           ●
                                                        WAP           ●
  Figure 7 Typical Windows CE application              J2ME                   ●
                                                     Windows CE                         ●
Current Windows CE version is called
Windows Mobile 2003. It’s build around                            Table 5 Range
Windows CE .NET 4.2 operating system.


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As can be expected SMS is the most present           comparable advantages but also some
mobile technology and represents the most            drawbacks so each technology has its own
interesting technology for omnipresent               unique trade-offs. SMS applications are,
mobile applications. The same goes for               simply put, the most attractive type of
WAP too; WAP 1.1 and WAP 2.0 standards               mobile applications. They represent a
are features of all modern mobile phones.            special breed – with the highest spread but
J2ME is also a very widespread mobile                with the least capabilities provided to the
technology. Manufacturers do not longer              users. SMS applications will bring most
consider a hardware implementation of                profit to the developer but also, since they
J2ME virtual machine as an advanced or               are typically n-tier client/server systems
costly feature. In the last year and a half          with heterogeneous technologies and highly
J2ME is a commonplace feature of almost              dependant on Telecom’s infrastructure, SMS
all middle and higher-class mobile phones            applications will be complicated to develop.
from Nokia, Motorola, Siemens, Samsung               WAP applications have almost the same
and others. Spread of Windows CE devices             spread as SMS but their capabilities are a bit
is not as high as the spread of J2ME mobile          poor. They are severely constrained by
phones but one can certainly expect to see           mobile devices screen size. It is just not
more of them in the future. The Windows              possible to display much data on a small
CE operating system is becoming                      screen. On the other hand, development of
increasingly mature as Microsoft keeps               WAP applications is easy – like
developing new versions, service packs,              development of simple static or dynamic
removing bugs and adding new features.               HTML pages. However, taking all into
Various companies are making IP                      account, it is fair to say that WAP
telephones, home entertainment devices,              applications have not lived up to
handheld computers and other different               expectations and they never will. In all
gadgets based on the Windows CE operating            probability, newer technologies like Web
system.                                              browsers for PDAs, with special rendering
                                                     of HTML and XHTML pages suitable for
7. Advantages and disadvantages                      smaller screens, will replace WAP browsers.
                                                     Advantages and disadvantages of J2ME and
After taking into account all relevant               Windows CE mobile applications are almost
features of mobile applications it is possible       the same but the most crucial difference is
to compare four mobile technologies                  that Windows CE is used on PDAs with
described in this article on the basis of            touch-screens and J2ME is for mobile
spread, capability, development complexity           phones with small screens and keyboards.
and the ability to produce financial profit for      Both technologies are very capable and have
application developers. Each category falls          powerful applicative features but Windows
in one of three ranges: Low, Medium and              CE is the most capable platform.
High. The result is shown in Table 6. Each
of the four technologies has some

                                        SMS        WAP         J2ME       Windows CE
                                                               High/      Medium/
                    Spread              High       High
                                                              Medium         Low
                                                  Medium/      High/
                   Capability           Low                                  High
                                                   Low        Medium
                                                  Medium/     Medium/      Medium/
             Development complexity     High
                                                   Low         Low          Low
                                                              Medium/      Medium/
                     Profit             High       Low
                                                               Low          Low



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                   Table 6 Comparative analysis of different mobile technologies

Windows CE is a real-time operating system
built around a comprehensive software
framework and it has rich user interface             9. References
together with high screen resolution. On the
other hand, since mobile phones are more             [1] R. Kalden, I. Meirick, and M. Meyer,
common than mobile computers, J2ME is                “Wireless Internet Access based on GPRS”,
more widespread than Windows CE.                     http://www.stephan-
Perhaps in the future, when more PDAs with           baucke.de/publications/mme/PCM_4_2000.
voice call capabilities hit the market, this         pdf [2000]
gap will be reduced.
                                                     [2] H. Schotten, "Evolution of 3G radio
8. Conclusion                                        access techniques", in Proc. of the
                                                     International Symposium '3G Infrastructure
It is impossible to give a straight yes or no        and Services' 3GIS, Athens, pp. 161-165,
answer to the question which mobile                  2001.
technology is simply the best. As can be
seen in Table 6, each mobile technology -            [3] Y. Guo and H. Chaskar, "Class-based
SMS, WAP, J2ME and Windows CE - has                  quality of service over air interfaces in 4G
its own comparable advantages. None of the           mobile networks", IEEE Commun. Mag.,
technologies can be totally ruled out. In a          pages 132-137, March 2002.
given situation it might be necessary to
develop applications in any or even several          [4] B.G. Evans and K. Baughan, "Visions of
of these four technologies. Project managers         4G", Electronics & Communication
and software designers will always have to           Engineering Journal, Vol. 12, No. 6, pp.
select the best mobile technology for a given        293-303, Dec. 2000.
set of software requirements but, simply put,
there are just two appealing choices: SMS or         [5] IRDA. IrDA Object Exchange Protocol
J2ME/Windows CE. SMS is the best choice              (IrOBEX), January 1997.
for a mobile application that can have a
simple user interface, has to perform one            [6] Infrared Data Association. "Technical
specific task and has to reach the widest            Summary of IrDA DATA and IrDA
possible range of users. SMS applications do         CONTROL.",
represent the biggest development challenge          http://www.irda.org/standards/standards.asp
but they are financially the most lucrative          [1999]
solution for any developer of mobile
applications. J2ME, especially with MIDP             [7] IrDA SIR Data Specification. At
2.0 standard, is the best solution for capable       http://www.irda.org/
applications on mobile phones. Windows               standards/pubs/IrData.zip, February 1999.
CE is in many ways the strongest mobile
technology that is suited for mobile                 [8] J Haartsen, "The Bluetooth Radio
computers. However, the most important               System", IEEE Personal Communications,
thing to notice is that the penetration of           pp. 28-36, Feb. 2000.
mobile communications worldwide is
already high and, more importantly, it is            [9] Specification of the Bluetooth system,
steadily rising. Therefore, the number of            http://www.bluetooth.com [Dec. 1999]
potential users of mobile applications is
constantly increasing as well and this can
only be good news for software developers.


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